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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           CASE NO. 8:06CR71
                                              )
                     Plaintiff,               )
                                              )                MEMORANDUM
       vs.                                    )                 AND ORDER
                                              )
GUSTAVO SAUCEDO-BELTRAN,                      )
                                              )
                     Defendant.               )

       This matter is before the Court on the Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody (Filing No. 208) and the motion

for leave to proceed in forma pauperis (Filing No. 209) filed by the Defendant, Gustavo

Saucedo-Beltran. Rule 4(b) of the Rules Governing Section 2255 Proceedings for the

United States District Courts requires initial review of a § 2255 motion, and describes the

initial review process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

       On February 5, 2007, Saucedo-Beltran was sentenced to 120 months imprisonment

and 5 years supervised release. (Filing No. 160.) The Judgment was filed on February 12,

2007. (Filing No. 167.) Saucedo-Beltran did not file a direct appeal; however, he had until

March 2, 2007, to do so. Fed. R. App. P. 4(b)(1)(A)(i) & 26(a). His § 2255 motion was filed

on May 27, 2008. (Filing No. 208.)

       Saucedo-Beltran’s conviction became final on March 2, 2007, when his period to file

an appeal expired. Anjulo-Lopez-United States, 541 F.3d 814, 816 & n.2 (8th Cir. 2008).

Under the facts of his case, Saucedo-Beltran had one year from that date to file his § 2255
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motion. 28 U.S.C. § 2255(f). Because his § 2255 motion was filed more than one-year

after that date, it appears plainly from the face of the § 2255 motion and the record that he

is not entitled to relief with respect to his claims arguing that both of his attorneys were

ineffective for failing to secure a downward adjustment for acceptance of responsibility and

failing to move for dismissal based on a violation of the Speedy Trial Act.

       IT IS ORDERED:

       1.     The Court has completed the initial review of the Defendant’s Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody (Filing No. 208);

       2.     The Defendant’s § 2255 motion (Filing No. 208) is summarily denied;

       3.     The Defendant’s motion for leave to proceed in forma pauperis is denied;

       4.     A separate Judgment will be issued denying the § 2255 motion; and

       5.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

       DATED this 6th day of March, 2009.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge




                                             2
